Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 1 of 6




            Exhibit C
                  Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 2 of 6


Sub: 15"^ AF Surg. Gen. wants change to accommodation request
Date: 08 December 2021
Ti m e ; 111 0 C S T
Location:




           Tinker AF8, Oklahoma
Present:

                                   , Lieutenant Colonel, USAF |
                             , Captain, USAF |
                                   , First Sergeant, USAF



[00:00] Lie : So ummm 15th AF Surgeon General came back, uh and because of the comprehensiveness of
VOur...uh accommodation uh, you basically listed every vaccine method that's been created, so it does not just touch the
creation of the covid 19 vaccine. So um...we will have to either uh restructure your accommodation to just request the
covid 19 vaccine or you have to identify every single vaccine uh that you are requesting an accommodation from.

[00:30] CPT : Okay

[00:32] LTC : What is your intent?

[00:34] CPT ; So um I intend to...I've looked into like flu vaccine type stuff, looked at...you know...see if whether
they use the same fetal-aborted fetal cell lines and all that, um but I guess I'll look at any of the other...um...I guess
that's really the only vaccine that we get regularly, uhjust flu vaccine, look at anything else that we might get regularly
that also includes the aborted fetal cell lines, um, I'll go to medical I guess and see what thev...which things that they
recommend I look into.


[01:08] LTC : I'm gonna be very transparent with you right now...

[01:10] CPT :yeah


[01:11] LTC : um, and I've got the shirt here...

[ 0 1 : 11 ] C P T : $ u r e

[01:12] LTC : ...if you're requesting accommodation from covid, um...that...l am not going to be able to
accommodate you as a military member, ACC [Air Combat Command] has already said, and the Chief of Staff of the Air
Force has said, that we are not going to accommodate you, basically. So it's going to get adjudicated, um but you're
probably going to be offered something, I don't krww what it will be, my...uh, my recommendation to you is that is if
you want to pursue other accommodations, let's do that separately from this specific one.

[01:43] CPT :okay

[01:44] LTC ...uh and then give you the time to {unintelligible} cuz have you already got the flu shot?

[ 0 1 : 4 7 ] C P T : Ye s s i r


[ 0 1 4 8 ) LT C : s o . . .

[01:49] CPT : I mean...! looked into that—


[ 0 1 : 5 1 ] LT C : y u p




                                                              Exb C: Page 1 of 5
             Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 3 of 6



CPT : ...and the one I got—

Lie         :ok,so...


[01:52] CPT : ...doesn't involve—


[01:52] LTC : So then I mean there's really no other vaccines present right now that are causing an issue with
your religion.

[01:59] CPT : Right, yes . And that, that's exactly why-

[02:02] LTC : So I guess what I mean...is like...so, if you're okay with it, I would just prefer that you request
accommodation from the covid 19 vaccine...urn...and the specific whatever is particular to that vaccine.

[02:15] CPT :Okay

[02:17] LTC : Does that make sense?

[02:18] CPT ; It does, yes . umm...

[02:21] LTC : and then if there's another vaccine that comes online—


[02:23] CPT : That has the same things-

[02:25] LTC : yeah...then my thoughts are you're not gonna get an acc—you're not gonna-the Air Force is not
gonna make an accommodation for you. They're not making accommodation for anyone else, they're already starting to
come back with declinations...


CPT     :   mhm.


[02:38] LTC : They will go through the appeal process but the Air Force—with covid 19—has stated that they are
not going to be able to accommodate, and that they need the force to be vaccinated, so...

[02:45] CPT : Okay.

[02:47] LTC : It's not a, us...like you said, it's not personal—

[02:49] CPT : Mhmm no, I understand that-

[02:51] LTC : But an accommodation is separate from an exemption, and I make sure that we're very clear
about that. Like being exempt from something, and being accommodated because of a religious belief are two separate
things...

CPT : Yes sir, mhmm...I understand that.


[03:08] LTC : So...umm, I need to...rm going to have to figure out how to follow up with, uh...the 15th Air Force
surgeon general, umm to find out how they want to proceed, uh, and that your intent is to be accommodated for the
covid 19, and you will assess future vaccination as it..as they are represented to you. If that means that we have to
re-work the entire package, then...uh we can do that...but I'm going to try to just engage with the surgeon general
initially and just say, hey, you know, is only pursuing covid 19 will assess future vaccinations on [unintelligible]"

C P T r Ve s , o k a y.




                                                          Exb C: Page 2 of 5
              Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 4 of 6



(03:471 LTC              ..if that's okay.

(03-48J CPT ; It is, yes . Um yeah I guess just let me know, ril...umm so you'd like me to start rewriting the--

(03:57) LTC : I'll let you know when, rm...rm trying to get us to not have to redo this whole package, uh so um
but...I'll see. They may ask us to do it, so...

(04:09) CPT ; Sounds good . Umm okay, well I, I've said it before I really appreciate you being very up front with
all this stuff, and unlike other commanders at other places...l haven't heard it here at Tinker...but uh you know people
being threatened, like from day one they've been threatened, and we have not felt that way at all, so-

(04:30) LTC ; I mean it's not an emotional thing, you know. I'm not to go in and ever try to change someone's
beliefs, and you have to weigh the costs for yourself...um there are several times people make a compromise, um and
you're either willing to do that or you're not willing to do that. So--nothing I'm going to say is going to change that for
you. You have to make that decision on your own.

( 0 4 : 5 5 ) C P T : Ye s .


(04:57) LTC : um so, that's kind of where we are, and you know you're on a PCS hold, right?

(05:01) CPT : I do...um, I guess I don't really know what that means in terms of what I need to continue doing for
the PCS or not...


(05:11) LTC : Are you going to ever go get the covid 19 vaccine?

(05:14) CPT : No .

(0514) LTC ; Okay. Then you are going to be out of the military. You need to be doing TAP, and you're going to
be discharged from the Air Force...in some shape or form. I don't know how speciftcally that mechanism will work, but
you will no longer be in the Air Force.

(05:27) CPT : Okay, and i...T[l be up front with you, uhh...I'm...there's going to be no stone left unturned, no avenue
left unexplored on my end because I do—

(05:36) LTC : There's an appeals process, so once this...if a declination comes down, which l...l'm pretty sure it
will, then there's an appeals process, you'll go through the appeals process. Uh the first person...um...is going through
that process from now that we've received back from the religious accommodation process, so it is a lengthy process.
We will support you and be there for you through that process. I just want to make sure that...you know, like...from the
PCS side, like...you are on a stop movement for PCS as long as you're gonna continue to pursue the religious
accommodation. Like, no one is going to force you to get the vaccine, and if you don't get the vaccine, you're not gonna
move. So...that--


(06:14) CPT : mhm, and from what I understand It's until an exemption or accommodation is approved,
umm...wh--vou can't have a pending one, from what I understand.

(06:23) LTC : Yup, and the accommodation is...like...unlikely, to not going to happen...so...

(06:29) CPT ; mhmm...gotcha.

(06:31) LTC : Uh the only thing that they are doing right now is-you are going through a legal process that the
Air Force does to protect your rights. But they have already stated from a legal standpoint, all the way up to the
chlef-man-in-charge that his requirement to have a vaccinated force outweighs his ability to accommodate you. And




                                                              Exb C: Page 3 of 5
             Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 5 of 6


that's...that is where we started from...um...if you were the one-off guy that held the nuclear codes and you were in a
vault by yourself and you came and went every day and you never touched anyone, I could see maybe the Air Force
going, "well we can't do it without , and not a risk to the force," so maybe they would let you be unvaccinated,
but I haven't seen that yet.

[07:12] CRT : I know this isn't coming from you or anything but, I just don't see how I am a risk to anyone anyway...I
mean, I'm just lookin' at people that I know, people in the military, see a handful of people collectively gone for weeks
on end, because they got covid 19, after having the vaccine...is that what readiness looks like? Compared to me having
missed zero days in the same amount of time? It kind of doesn't compute...in my...in my opinion, or in my view I
suppose, so I don't know where they're coming from in all this, what is their intent? Is their intent readiness...or is their
Intent vaccination? Cuz...it seems like they're two different things. S0...I don't know...that'S"

[07:55] Lie : Umm...rm not a medical professional, and I don't have the background. What I know is...that um,
science and everything they believe that getting the vaccination either lessens umm the impact of the vaccination and
helps to turn the force quicker. Right now we are in a garrison state, so we have the ability to afford members
being...um...you know, away. We're not at war. I think those are the things that the force is taking a look at. But again,
um don't want to speculate, and I'm probably getting out of my lane anyways, right now.


[08:28] CRT : Oh, yeah, I understand

[08:29] LTC : So I'm executing the orders of those uh...above me, and this is one of those that I'm doing, and
I'm...but again, like you said, we're not standing in the way and we will accommodate you at every turn. Umm and move
through the appeals process. But you asked,[to First Sergeant ] the reason we got into that, , because asked
about RC5 cycle, and so what's going to happen with PCS and I said you'll most likely run it's fruition, on a PCS
stop-hold so not gonna move anywhere...um like "well do I still continue to do PCS actions?" and I asked
very pointedly: "are you going to get the vaccination?" said no, I was like well then you're not going to be PCSing
anywhere.


[09:11] CPT : um...l so I mean I guess I'm still a little unclear. The PCS hold is on, uh...there's some like different
paperwork, some different things like that I don't know I mean...is there a point that l-is there a hold point in the PCS
process that I get to and we're like "alright, now...you wait, until you either get an accommodation or you don't."

[09:35] LTC : um...right now you're just kinda in limbo, man. I don't have any other way to tell you, you still
have a PCS attached to your name, there is a PCS stop-movement for all people who have not been vaccinated, I know
that once we run through the vaccination process, like...they're not going to accept you being a 13 B in the military not
being vaccinated, so we're just running that process right now. So, at some point the assignment will probably get
turned off, I don't know when that is.


[10:05] CPT : Sure. Okay...sounds good sir...

[10:07] ISGT (barely audible] When are you supposed to report?

[10:09] CPT ; Umm report no later than date's not 'til June somethingth?

[10:13] LTC : But has a training cycle that that was going to attend. I will not send you to that training
cycle, being unvaccinated. I've already reached out to , so uh-

[10:22] CPT : That's the squadron com-

[10:23] LTC : Yeah, who is the gaining commander, um so, is aware, um so...everyone is aware.

[10:30] CPT : Okay, I've had them contact me a couple times talk to me on the phone, not specifically I don't
think, um but people from like DOT there...um...




                                                                Exb C: Page 4 of 5
              Case 1:22-cv-01267-BAH Document 8-5 Filed 05/13/22 Page 6 of 6



[10:37] LTC          : Shouldn't be any contact from the-l'll contact        ..like, if the unit is contacting you...iike-

[10:42] CPT : Oh, they were just like asking you know 'are you an instructor?' uh you know, that type of thing

[10:46] LTC : Yeah but I'm gonna contact because of your status, like...that the squadron shouldn't be
contacting you, because if it starts getting into training and such like I don't want them getting into your personal
business why you may or may not be coming and so the more you go down that road, umm...so I'm Just going to have
them cease so you don't have to have the awkward conversations with them or...l mean, you may want to. I don't know.
But I'm going to protect you in that way so your personai business isn't...doesn't have to be out in the open.


[11:14] CPT : Right, I appreciate that

[11:15] LTC : Like "why aren't you coming?" "Weli i'm going for the accommodation." "Why are you going for
accommodation?" {unintelligible} any of that happening from another unit...

[11:22] CPT : Sounds good, . Okay...

[11:24] LTC : Any other questions? I'll let you know as soon as I find out from the surgeon general if they want
us to change the paperwork

[11:29] CPT : Sounds good ...alright, cool, thank you

LT C          :Yup


—Inconsequential small-talk—




                                                               Exb C: Page 5 of 5
